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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS
  EARPLUG PRODUCTS                              Case No. 3:19-md-2885
  LIABILITY LITIGATION

  This Document Relates to:                     Judge M. Casey Rodgers
  Jonathan Swaim, 8:20-cv-34303                 Magistrate Judge Hope T. Cannon
  Timothy Bush, 8:20-cv-34531
  Ross Forrest, 8:20-cv-34768
  Ivy Campbell, 8:20-cv-34949
  Michael Hejmanowski, 8:20-cv-35070
  Justin Mcshan, 7:20-cv-30099
  Tyler Frey, 8:20-cv-35326
  Gary Bergeron, 8:20-cv-35336
  Mark Norman, 8:20-cv-35704
  Willie Humes, 8:20-cv-35794
  Terry Armstrong, 8:20-cv-35815
  Dwan Jacobs, 8:20-cv-35463
  Blaine Mott, 7:21-cv-05210
  Steadman Friday, 7:21-cv-05264
  Derrell Derouen, 7:23-cv-03557
  Robert Williams, 3:22-cv-24152

                    DEFENDANT 3M COMPANY’S REPLY TO
                    RESPONSE TO ORDER TO SHOW CAUSE

      3M respectfully submits the following reply in response to this Court’s Order

of May 17, 2024. The Court asked for 3M’s reply to Plaintiff counsel’s response to

the Court’s Order to Show Cause, “primarily on the issue of whether 3M considers

the subject Releases enforceable and thus acceptable in the context of the Settlement

Program.”
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    I.      Morris Bart Cases1

         A. Plaintiffs’ Counsel Provided New Releases

         BrownGreer PLC (“BrownGreer”) and 3M have been provided releases

signed by 14 of the 15 Plaintiffs represented by Morris Bart and at issue in this Order

to Show Cause. These releases are wet signed by each Plaintiff and accompanied

by a copy of government-issued photo identification. Accordingly, those releases are

acceptable to 3M. 3M also understands that Plaintiffs’ counsel is continuing its

efforts to obtain the last release executed by Dwan Jacobs.

         The provision of claimant-signed releases somewhat moots the issue of

whether the prior set of attorney-signed releases are acceptable to 3M but, consistent

with the Order to Show Cause, 3M also provides its response to that issue to the

extent the Court still deems it live.

         Plaintiffs’ counsel also reached out to 3M’s counsel and offered to provide

the affidavits filed under seal in their response to the Court’s Order to Show Cause

subject to 3M’s agreement that it would not waive any attorney-client privilege,

which 3M provided. The affidavits from 14 of the Plaintiffs indicate that they were



1
 Morris Bart is Plaintiffs’ counsel of record in the following 15 cases subject to the Court’s Order to Show
Cause: Jonathan Swaim, 8:20-cv-34303; Timothy Bush, 8:20-cv-34531; Ross Forrest, 8:20-cv-34768; Ivy
Campbell, 8:20-cv-34949; Michael Hejmanowski, 8:20-cv-35070; Justin Mcshan, 7:20-cv-30099; Tyler
Frey, 8:20-cv-35326; Gary Bergeron, 8:20-cv-35336; Mark Norman, 8:20-cv-35704; Willie Humes, 8:20-
cv-35794; Terry Armstrong, 8:20-cv-35815; Dwan Jacobs, 8:20-cv-35463; Blaine Mott, 7:21-cv-05210;
Steadman Friday, 7:21-cv-05264; and Derrell Derouen, 7:23-cv-03557.




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not able to complete the online registration and release by the January 25, 2024

deadline and that they instructed their attorneys at Morris Bart to do so for them.

Counsel’s affidavit regarding the one Plaintiff who did not submit an affidavit

(Dwan Jacobs) explains the circumstances regarding that Plaintiff’s difficulties in

providing a release and her intention to have her counsel accept the settlement for

her.

         While there may be a question whether the releases as originally signed by

counsel are enforceable under New York law (discussed below), the newly provided,

“cured” releases signed by 14 of the Plaintiffs and the expectation of receiving a

signed release from Ms. Jacobs would resolve any questions about enforceability.

As a result and subject to the Court’s direction, 3M is prepared to accept the newly

executed releases (including the expected release from Ms. Jacobs) as cures so that

these Plaintiffs may participate in the settlement.

         B. Enforceability of the Initial Releases

         In response to the Court’s question as to whether 3M views the subject

releases as enforceable and acceptable, had 3M received the initial releases and the

information contained in Plaintiff counsels’ response brief (i.e., an explanation that

Plaintiffs’ counsel was signing on behalf of the Plaintiffs at their direct instruction

and due to each Plaintiff’s inability to execute the release personally by the

deadline), it would have treated the releases as deficient but curable. 3M would have




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treated the releases as deficient because it is not clear under New York law that the

releases as initially executed would have been enforceable.

         The Master Settlement Agreement states that “[t]he substantive laws of the

State of New York shall govern the validity, construction, enforcement, and

interpretation of this Settlement.” MSA § 17.5. And the Releases state that New

York law will apply:

                  GOVERNING LAW: THIS RELEASE SHALL BE
                  GOVERNED      BY AND   CONSTRUED     IN
                  ACCORDANCE WITH THE SUBSTANTIVE LAW OF
                  NEW YORK, WITHOUT REGARD TO ANY CHOICE-
                  OF-LAW RULES THAT WOULD REQUIRE THE
                  APPLICATION OF THE LAW OF ANOTHER
                  JURISDICTION.

Release of All Claims at 23.

         Although 3M did not locate a New York equivalent to the doctrine of

amanuensis as recognized under Louisiana law, there is authority suggesting that

courts applying New York law would provide Plaintiffs an opportunity to cure the

releases under these circumstances.2 For example, when a party’s lawyer signed a

release and “did not provide the Court (or opposing counsel) with documentation

indicating that he or the firm had the authority to sign the release,” the court directed


2
 Plaintiffs cite Wyman v. The Sprott, 70 F.3d 327 (S.D.N.Y. 1895) for support that a New York court would recognize
amanuensis. That case involved bills of lading executed by charterers of a ship and the loss of hay bales. The court
held that, based on the testimony of the captain regarding the knowledge that the charterers of the ship were executing
bills of lading on his behalf and in his presence, the charterers had the authority to sign bills of lading on his behalf.
The court noted that the charters acted as the captain’s “amanuenses.” Aside from being over 100 years old, the case
does not provide meaningful support for the proposition that New York courts would permit attorneys to execute
releases on behalf of their clients.




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counsel to furnish a release executed by a proper representative or one signed by

counsel and “accompanied by an affidavit from the [releasor] granting the

[releasor’s] attorney authority to sign the release.” State Farm, 2006 WL 1993766,

at *2 (“This is in part why, as a practical and prudent practice, most attorneys have

their clients execute general releases.”); see also Ortiz v. Brooks, 23 N.Y.S.3d 387,

388–89 (N.Y. App. Div. 2016) (upholding release signed by attorney where plaintiff

signed a power of attorney that “granted [the attorney] the authority to ‘execute

general and trust release . . . throughout the life of [the plaintiff’s] case’”).

         Now that 3M has received releases signed by 14 of the 15 Morris Bart

Plaintiffs and understands that counsel is working to obtain the release from Ms.

Jacobs, the question of enforceability should be moot. For the releases personally

signed by 14 of the Plaintiffs, 3M fully expects that a court applying New York law

would enforce them. And, based on the information provided by Plaintiffs’ counsel,

3M has no objection to counsel having additional time to obtain the signed release

from Ms. Jacobs.

   II.      Robert Williams, Case No. 3:22-cv-24152

         As to the Robert Williams case, Plaintiff’s counsel included in their response

to the Court’s Order to Show Cause an excerpt from a power of attorney that they

state was signed by the Plaintiff. The first sentence quoted from the power of

attorney provides that “No settlement shall be made without Client’s approval and




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permission.” ECF No. 4044, ¶ 11. Plaintiff’s counsel states that they were unable to

reach Mr. Williams regarding the settlement and release. Id. ¶ 6. Under New York

law, “[a] power of attorney should be construed according to the natural meaning of

its words, bearing in mind the purpose of the agency.” Alizio v. Perpignano, 666

N.Y.S.2d 39 (Mem.) (N.Y. App. Div. 1997). Thus, in light of the plain meaning of

the power of attorney quoted by Plaintiff’s counsel, 3M does not believe that the

Release signed by Plaintiffs’ counsel would be enforceable under New York law.

3M recognizes that the Court dismissed this case with prejudice in February—and

Mr. Williams did not appeal the dismissal order—so it does not expect that the case

could be included in the settlement or that there would be any challenge as to the

enforceability of the release.


Dated: May 23, 2024                            Respectfully submitted,

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                                               Counsel for Defendants, 3M
                                               Company, 3M Occupational Safety
                                               LLC, Aearo Technologies LLC,
                                               Aearo Holding, LLC, Aearo
                                               Intermediate, LLC and Aearo, LLC




     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)
     Pursuant to Local Rule 7.1(F), counsel for Defendants certify that this

memorandum contains 1049 words.

Dated: May 23, 2024                            /s/ Charles F. Beall, Jr.
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                          CERTIFICATE OF SERVICE

      I HERBY CERTIFY this 23 day of May, 2024, a true and correct copy of the

foregoing was electronically filed via the Court’s CM/ECF system, which will

automatically serve notice of this filing via e-mail notification to all registered

counsel of record.

Dated: May 23, 2024                                /s/ Charles F. Beall, Jr.
                                                   Charles F. Beall, Jr.

                                                   Counsel for Defendants, 3M
                                                   Company, 3M Occupational Safety
                                                   LLC, Aearo Technologies LLC,
                                                   Aearo Holding, LLC, Aearo
                                                   Intermediate, LLC and Aearo, LLC




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